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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  MORIAH AHARON;
  JORDAN G. KUPPINGER, M.D.;
  DAMON J. DETESO, M.D.;
  ROSANNA CARUSO; and
  CHRISTOPHER PAYTON, each on
  behalf of themselves, and all those
  similarly situated,

  Plaintiffs,
                                                   CASE NO. __________________
  v.                                               CLASS ACTION
                                                   JURY TRIAL DEMANDED
  CHINESE COMMUNIST PARTY; and
  PEOPLE’S REPUBLIC OF CHINA,


  Defendants.
  _______________________________/

                                 CLASS ACTION COMPLAINT

          Plaintiffs, MORIAH AHARON, JORDAN KUPPINGER, M.D., DAMON J. DETESO,

  M.D., ROSANNA CARUSO, and CHRISTOPHER PAYTON (collectively, “Named

  Plaintiffs”), on behalf of themselves and all those similarly situated, by and through their

  undersigned counsel, hereby sue the CHINESE COMMUNIST PARTY (“CCP”) and the

  PEOPLE’S REPUBLIC OF CHINA (“PRC”) (collectively “Defendants”), for damages, and

  further allege as follows:

                                      INTRODUCTION

          1.    This is a class action brought by the Named Plaintiffs, representing doctors,

  nurses, paramedics, EMTs and other front-line medical care workers in the United States

  and State of Florida, for damages suffered by them and putative class members as a

  result of Defendants hoarding and stockpiling Personal Protective Equipment (“PPE”),
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  and forbidding factories located in China, including those owned by U.S. corporations,

  from exporting PPE to the United States.

         2.     The world is suffering the devastating impacts of the Coronavirus/COVID-

  19 pandemic, with worldwide cases surpassing the 1.3 million mark, and the exponentially

  rising death toll in the United States alone surpassing 10,000 as of April 6, 2020. The

  virus’s epicenter in late 2019 was Wuhan, China, and because of the Defendants’

  deliberate and egregious acts of concealment for their economic self-interest, COVID-19

  quickly spread throughout Asia, Europe and, North America.

         3.     On the front line of our nation’s response to the effects of this deadly

  pandemic are the nearly 4,000,000 doctors, nurses, medical technicians, paramedics,

  and EMTs who are faced with severe shortages of PPE. These shortages can be directly

  traced to the actions of Defendants.

         4.     The conduct of Defendants has caused injury and incalculable harm to

  Named Plaintiffs and putative class members, and such injury and harm will only multiply

  in coming days and weeks. The Defendants’ conduct has caused and will continue to

  cause personal injuries and deaths, as well as other damages.

                                          PARTIES

         5.     MORIAH AHARON, a resident of Palm Beach County, Florida, is an

  intensive care unit nurse who has been injured and damaged by Defendants’ conduct, as

  described herein, and is otherwise sui juris.

         6.     JORDAN G. KUPPINGER, M.D., a resident of Palm Beach County, Florida,

  is a hospital doctor who has been injured and damaged by Defendants’ conduct, as

  described herein, and is otherwise sui juris.



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         7.     DAMON J. DETESO, M.D., a resident of Saratoga County, New York, is a

  hospital doctor who has been injured and damaged by Defendants’ conduct, as described

  herein, and is otherwise sui juris.

         8.     ROSANNA CARUSO, a resident of Bergen County, New Jersey, is a

  surgical technologist who has been injured and damaged by Defendants’ conduct, as

  described herein, and is otherwise sui juris.

         9.     CHRISTOPHER PAYTON, a resident of Monongalia County, West Virginia,

  is a hospital registered nurse, who has been injured and damaged by Defendants’

  conduct, as described herein, and is otherwise sui juris.

         10.    Two of the Named Plaintiffs have tested positive for COVID-19, while the

  others are awaiting results.

         11.    Putative class members (“class members”) are those individuals and

  entities similarly situated to Named Plaintiffs, and will number in the hundreds of

  thousands, if not millions.

         12.    The Chinese Communist Party (“CCP”) is the ruling political party of China,

  and is legally distinct from the PRC. It is not a foreign state, but an entity that operates

  throughout China, and has chapters all over the world, including in many U.S. states and

  on many U.S. college and university campuses.

         13.    The People’s Republic of China (“the PRC”), a foreign state, is the world’s

  most populous country and is the third largest country by area. It is also the largest

  manufacturer of PPE. It is ruled by the CCP.




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                                 JURISDICTION AND VENUE

         14.    This Court has subject matter jurisdiction over this class action pursuant to

  the Class Action Fairness Act of 2005 (CAFA) and 28 U.S.C. § 1332(d). The matter in

  controversy, exclusive of interest and costs, exceeds the sum or value of $5,000,000,

  there exists minimal diversity between parties, and there are millions of putative class

  members.

         15.    This Court has further jurisdiction under the Foreign Sovereign Immunities

  Act (FSIA) of 1976, 28 U.S.C. §§ 1602 et seq., and particularly the exceptions of §

  1605(a)(5) (for money damages for personal injury or death, or damage to or loss of

  property, occurring in the United States and caused by the tortious acts or omissions of

  the PRC, or of any official or employee of PRC while acting within the scope of his office

  or employment); and § 1605(a)(2) (for an act outside the territory of the United States in

  connection with a commercial activity of the foreign state that causes a direct effect in the

  United States).

         16.    There is no “discretionary acts” exception to jurisdiction under the FSIA, as

  Defendants have acted clearly contrary to the precepts of humanity, have failed to warn

  of a known danger, and/or have acted in a manner that is prohibited under the internal

  laws of the PRC.

         17.     This Court has jurisdiction over the CCP and the PRC because they have

  committed tortious acts within the United States and Florida, and within this District, and

  have sufficient contacts in Florida and this District to render the exercise of jurisdiction by

  this Court permissible.




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        18.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and (c)

  because a substantial part of the events or omissions giving rise to Named Plaintiff’s and

  class members’ claims occurred in this District.

                                  GENERAL ALLEGATIONS

  The Outbreak of COVID-19

        19.      As of April 6, 2020, there are over 1,343,000 confirmed worldwide cases,

  and nearly 75,000 deaths, and even larger number of as yet undiagnosed cases. These

  numbers are expected to continue to rise exponentially in the coming days and weeks.

        20.      As of April 6, 2020, the United States has the highest number of confirmed

  cases (367,000), and a quickly rising death toll that has surpassed 10,871. These

  numbers are expected to rise exponentially in the coming days and weeks.

        21.      Defendants, acting from their own economic self-interest and protection of

  their place as an economic super-power, actively concealed the outbreak of COVID-19 in

  its early stages, purposely underreported cases, and failed to contain the outbreak

  despite knowing the seriousness of the situation.

        22.      Among other acts and omissions demonstrating their active concealment,

  Defendants:

              a. Censored doctors in late December 2019 and early January 2020 from

                 speaking about the outbreak and its dangers.

              b. Even after the first death on January 9th, continued to downplay the dangers

                 and assured the public that the situation was not serious and that everything

                 was under control.




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               c. Took 17 days from the time Chinese researchers discovered the COVID-19

                  genome sequence to report the findings to their world-wide peers.

               d. Knowing COVID-19 was spread human to human by January 3rd, told the

                  public otherwise, and did not confirm the ease of human to human

                  transmission until January 20th, after the virus had already spread beyond

                  China.

               e. Failed to direct government officials to establish containment measures until

                  it was too late, despite knowledge of the need to start sooner.

               f. Allowed Wuhan’s leaders to hold a public dinner for over 40,000 families on

                  January 18, as part of Chinese New Year celebrations, despite knowing the

                  ease of human to human spread of the virus.

         23.      Defendants were obligated under International Health Regulations (“IHRs”)

  (a treaty that China has signed and is obligated to uphold) to promptly and timely report

  accurate numbers and other information to the World Health Organization (“WHO”) when

  they learned of the lethal nature of the virus, and failed to do so.

         24.      Moreover, international health and law experts are agreeing that

  Defendants’ early handling of the outbreak and their failures to report to the WHO have

  breached Articles Six and Seven of the IHRs. Because of these failures and breaches, a

  pandemic was created. They include:

               a. Failure to disclose to the WHO the data that related to the ease of human

                  to human transmission for three weeks.

               b. Giving the WHO false information about the infection rate in the first eleven

                  days of January 2020.



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               c. Failing to deter and shut down the sources of potential animal to human

                  virus pathways, and instead actively participating in and allowing the exotic

                  animal trade and “wet markets” to flourish (a breach of Article 12 of the

                  International Covenant on Economic, Social, and Cultural Rights).

               d. Allowing millions of people to leave Wuhan and Hubei Province, while

                  knowing the dangers, and before imposing the January 23, 2020 lockdown.

  The U.S. Experience with COVID-19 So Far

         25.      The exponential rise in cases, even as a majority of Americans now live

  under “shelter in place” type orders, along with the virus and deaths touching the rich,

  famous, and poor alike, demonstrates that COVID-19 spreads easily and rapidly.

         26.      Those who become symptomatic feel cold and flu like symptoms, and too

  many of these symptomatic cases rapidly turn into serious cases of respiratory distress,

  requiring emergency care and respirators.

         27.      Co-morbidities, such as advanced age, hypertension, obesity, diabetes,

  and immune disorders, increase the risk of serious infection and death.

         28.      The nation’s hospitals in places like New York, a current hotspot, are

  already well beyond capacity and unable to provide proper care to all patients who need

  it. Morgues and funeral homes are running out of room for the deceased. The New York

  Times reported on April 6, 2020 that New York City may have to resort to temporary mass

  graves to keep up.

         29.      Hospitals and major cities in other states, such as Florida, will face the same

  fate within the coming weeks, when they, too, become hotspots, as the modeling of the

  outbreak shows. Florida is especially susceptible due to its substantial elderly population.



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  The Route of Transmission

         30.    As the World Health Organization has reported, COVID-19 is believed to be

  primarily transmitted “between people through respiratory droplets and contact routes.”

  The transmission occurs when a person is within approximately 3 to 6 feet of someone

  who is experiencing respiratory symptoms (e.g., coughing or sneezing) and becomes at

  risk of having their mouth, nose, and eyes (mucous membranes) exposed to infectious

  respiratory droplets. There is also a risk of transmission when those respiratory droplets

  end up on surfaces, including clothing and objects such as stethoscopes and

  thermometers, where they can survive for hours, and a person can touch those surfaces

  and then touch their eyes, nose, or mouth, and become infected.

         31.        Airborne transmission remains a possibility and this possibility, according

  to the WHO, could be exacerbated in a medical environment, because treating the more

  serious symptoms of COVID-19 involves procedures which can generate aerosols, such

  as: endotracheal intubation; bronchoscopy; open suctioning; administration of nebulized

  treatment; manual ventilation before intubation; turning an infected patient to the prone

  position; disconnecting an infected patient from the ventilator; non-invasive positive-

  pressure ventilation; tracheostomy; and cardiopulmonary resuscitation.

  The Front-Line Medical Providers at Serious Risk

         32.    Compounding these issues is the fact that there is not enough PPE for the

  front-line doctors, nurses, medical technicians, paramedics, and EMTs (collectively

  “medical providers”) who must risk their lives, and their families’ lives, to treat the high

  number of serious COVID-19 cases that are overtaxing the nation’s medical

  infrastructure.



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         33.    PPE consists of medical grade face masks (such as the N95 mask), face

  and eye shields, and other protective garments and accessories that prevent the

  respiratory droplets or aerosolized virus from reaching the eyes, nose and mouths of the

  medical providers.

         34.    The stories are legion in the media that medical providers are having to

  improvise PPE and re-use PPE that is meant for one time or limited use, or to simply go

  without proper gear.

         35.    Medical providers are being forced to self-quarantine from their families,

  either staying away from their homes, or in some cases, sleeping alone in tents or in their

  vehicles, to keep their families safe.

         36.    Medical providers are already being overworked by the virus response, and

  many must also suffer the stress and loss of support from those closest to them, while

  their spouses and children are also denied their loved ones.

         37.    For the purposes of this Complaint, medical providers are those providing

  in-person healthcare services in hospitals and other urgent care settings (including

  medical offices and improvised hospital settings), and includes paramedics and

  emergency medical technicians (EMTs). The term “doctors” includes, but is not limited to,

  surgeons, physicians, residents, and attending physicians, as well as interns in teaching

  hospitals. The term “nurses” includes, but is not limited to, registered nurses, licensed

  practical nurses, and certified nursing assistants.     The term “medical technicians”

  includes, but is not limited to, respiratory and similar therapists, radiology technicians,

  surgical technicians, EKG technicians, and patient care technicians — essentially those

  who assist other professionals in hospital settings.



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  China’s Deliberate Hoarding of PPE Is Causing Direct Harm to Medical Providers

           38.     On April 3, 2020, the New York Times updated an article by Keith Bradsher

  and Liz Alderman: The World Needs Masks. China Makes Them, but Has Been Hoarding

  Them.          https://www.nytimes.com/2020/03/13/business/masks-china-coronavirus.html.

  The article highlights China’s concerted and deliberate efforts to both buy up as much of

  the world’s inventory of PPE and respirators, but also to prevent its factories from

  exporting PPE, just as they knew the dangers, but had still failed to tell the rest of the

  world.

           39.     That article, and others in recent days, have included statements to U.S.

  officials from executives at U.S. manufacturers 3M and Honeywell — who manufacture

  in China —that the Defendants began blocking their exports of N95 respirators, booties,

  gloves and other PPE and medical supplies produced by their factories in China, starting

  in early January.

           40.     At the same time, U.S. and administration officials report, based on data

  from China’s own customs agency, that China began “cornering the market” on PPE,

  importing 2.46 billion pieces of “epidemic prevention and control materials” between

  January 24th and February 29th. The items included more than 2 billion masks and more

  than 25 million “protective clothing” items, that came from countries in the European

  Union, Australia, Brazil and Cambodia.

           41.     Thus, just as the world was beginning to see the danger of the coming

  pandemic, China — which already knew it had actively concealed the dangers of the virus

  from the world — was hoarding the world’s supply of PPE, including gloves, goggles, and

  masks, through these massive increased purchases. And at the same time China,



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  already the world’s largest PPE manufacturer, was preventing any exports from factories

  located there, including those owned by U.S. corporations.

        42.    This effective control of the market means they can now charge higher

  prices for the PPE that is so desperately needed, because of a pandemic they created.

  This barbaric posture is best summed up by a report by Barnini Chakraborty on April 7,

  2020, of Fox News, and picked up by media outlets around the world that, China is

  actually making utterly devastated Italy pay for masks it had donated to China for the

  Wuhan response. See https://www.foxnews.com/world/china-italy-coronavirus-supplies-

  buy-back.

        43.    These deliberate and egregious acts, or at least negligent acts, have

  caused the deaths, infections, and other physical harms of medical providers throughout

  the world and within the United State and Florida, who have lacked proper and adequate

  PPE due to Defendants’ conduct.

        44.    Any condition precedent to the filing of this lawsuit has been satisfied, met,

  and/or waived.

                              CLASS ACTION ALLEGATIONS

        45.    The Named Plaintiffs assert National and Florida classes pursuant to Rules

  23(a), (b)(1), (b)(3) and/or 23(c)(4) of the Federal Rules of Civil Procedure, on behalf of

  themselves and those similarly situated, against the Defendants for whom they have

  standing. The Named Plaintiffs define the National Class as follows:

        All medical providers, as defined herein, in the United States who have been
        unable to procure proper or adequate PPE, treated COVID-19 infected
        patients, and suffered injury, damage, and loss as a result.

         And Plaintiffs AHARON and KUPPINGER define the Florida Sub-Class as
  follows:

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         All medical providers, as defined herein, in the State of Florida who have
         been unable to procure proper or adequate PPE, treated COVID-19 infected
         patients, and suffered injury, damage, and loss as a result.

         46.      Excluded from the Classes are the following: (1) the Defendants, and any

  parent, subsidiary or affiliate organizations, and the officers, directors, agents, servants,

  or employees of same, and the members of the immediate family of any such person; (2)

  all persons who timely opt out of this proceeding; (3) all persons who have given valid

  releases releasing Defendants from the claims asserted in this Complaint; (4) all persons

  who, prior to the filing of this Complaint, have filed a non-class action claim against the

  Defendants (or any of them) for the claims asserted in this Complaint; and (5) the judge(s)

  to whom this case is assigned, their employees and clerks, and immediate family

  members.

         47.      The Classes are sufficiently numerous such that the joinder of all members

  of the Classes in a single action is impracticable. According to recent statistics, there are

  approximately 2.2 million nurses working in hospital and medical settings, nearly a million

  licensed physicians, over 350,000 paramedics and EMTs, and over 250,000 medical

  technicians working in the United States. A substantial number of these persons, if not a

  majority, have been or will in the immediate future be affected by Defendants’ wrongful

  conduct.

         48.      There are numerous common questions of law and fact that predominate

  over any questions affecting only individual members of the Class and/or Subclass.

  Among these common questions of law and fact are the following:

               a. Whether Defendants’ tortious conduct was intentional, negligent, and/or
                  reckless;



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              b. Whether Defendants’ conduct, as described herein, constituted a
                 commercial activity outside the U.S. that had a direct effect within the U.S.;

              c. Whether Defendants’ conduct was clearly contrary to the precepts of
                 humanity;

              d. Whether Defendants’ conduct violated established laws within the PRC;

              e. Whether Defendants failed to warn of an imminent danger they knew or
                 should have known about;

              f. Whether Defendants prevented their domestic PPE manufacturing facilities,
                 including those owned by U.S. corporations, from exporting PPE; and

              g. Whether Defendants purchased much of the world’s inventory of PPE in
                 order to “corner the market,” just as the severity of the pandemic was
                 becoming known.


        49.      The claims of the Named Plaintiffs are typical of the claims of each member

  of the Classes and Sub-Classes in that, among other issues:

              a. the Named Plaintiffs’ claims arise from the same course of conduct of
                 Defendants giving rise to the claims of other class members;

              b. the claims of the Named Plaintiffs and each member of the Class are based
                 upon the same legal theories;

              c. the Named Plaintiffs and each member of the Classes have an interest in
                 prevailing on the same legal claims;

              d. the types of damages incurred by the Named Plaintiffs are similar to those
                 incurred by the other class members;

              e. the defenses asserted by Defendants will be very similar, if not identical, as
                 to all Named Plaintiffs and class members.


        50.      Named Plaintiffs are adequate representatives of the Classes in which they

  participate because, together with their legal counsel, each will fairly and adequately

  protect the interests of Classes. Named Plaintiffs and all class members have a similar,

  if not identical interest in obtaining the relief sought. Proof of the claims of the Named


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  Plaintiffs will also prove the claims of the Classes. Named Plaintiffs are not subject to

  any unique defenses. Named Plaintiffs have no known conflict with the Class or Subclass

  and are committed to the vigorous prosecution of this action.

         51.    The undersigned counsel are competent counsel experienced in class

  action litigation, mass torts, and complex litigation involving such widespread harm.

  Counsel will fairly and adequately protect the interests of the Classes.

         52.    The various claims asserted in this action are certifiable under the

  provisions of Federal Rules of Civil Procedure 23(b)(1) because prosecuting separate

  actions by or against individual class members would create a risk of inconsistent or

  varying adjudications with respect to individual class members that would establish

  incompatible standards of conduct for the party opposing the Classes; or adjudications

  with respect to individual class members that, as a practical matter, would be dispositive

  of the interests of the other class members who are not parties to the individual

  adjudications, or would substantially impair or impede their ability to protect their interests.

         53.    Plaintiffs’ legal claims are properly certified pursuant to Rule 23(b)(3) in that:

  (1) a class action is superior in this case to other methods of dispute resolution; (2) the

  class members have an interest in class adjudication rather than individual adjudication

  because of their overlapping rights; (3) it is highly desirable to concentrate the resolution

  of these claims in this single forum because it would be difficult and highly unlikely that

  the affected class members would protect their rights on their own without this class action

  case; (4) the disparity between the resources of Defendants and class members would

  make prosecution of individual actions a financial hardship on class members; (5) the

  prosecution of separate actions by individual class members, or the individual joinder of



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  all class members is impractical and would create a massive and unnecessary burden on

  the Court’s resources; and (6) Management of the class will be efficient and far superior

  to the management of individual lawsuits. Moreover, currently, the undersigned counsel

  is unaware of any other pending litigation regarding this controversy with respect to the

  claims asserted here.

         54.    The issues particularly common to the class members’ claims, some of

  which are identified above, are alternatively certifiable pursuant to Fed. R. Civ. P. 23(c)(4),

  as resolution of these issues would materially advance the litigation, and class resolution

  of these issues is superior to repeated litigation of these issues in separate trials.

         55.    Named Plaintiffs have retained the above counsel to represent them in this

  lawsuit, and are obligated to pay said counsel reasonable attorneys’ fees provided

  recovery is obtained.

                                   COUNT I – NEGLIGENCE
                                   (Against Each Defendant)

         56.    Named Plaintiffs adopt, incorporate by reference, and restate the foregoing

  allegations in paragraphs 1 through 55, as if fully set forth herein, and further allege:

         57.    Defendants had a duty to medical providers, as defined herein, including

  Named Plaintiffs and class members in the United States, to not act negligently in their

  restriction of exports of PPE produced in China and in their procurement of the world’s

  inventory of PPE, during the time they knew of the dangers of the Coronavirus, and the

  risk of a worldwide and deadly pandemic, such that their actions were unreasonable and

  caused unnecessary harm.

         58.    Stated another way, Defendants’ conduct with regard to the worldwide and

  Chinese domestic supplies of PPE created a foreseeable zone of risk that poses/posed

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  a general threat of harm to others, including Named Plaintiffs and class members, such

  that a common-law legal duty arises to ensure the Defendants’ conduct is/was carried out

  reasonably.

         59.      Moreover, Defendants themselves created the foreseeable zone of risk by

  their hoarding conduct, and it was unreasonable.

         60.      Defendants’ duty here is nondelegable, because the responsibility here is

  so important to the world community, including the Named Plaintiffs and class members,

  that Defendants cannot shift the duty to third parties.

         61.      The standard of care is the reasonable or ordinary care that a prudent actor

  would perform in similar circumstances to avoid injury to others.

         62.      Defendants breached their duty to Plaintiffs and class members by, among

  other breaches:

               h. Preventing factories in China, including those owned by U.S. corporations,
                  from exporting PPE during the time Defendants knew of COVID-19’s
                  particular dangers and the propensity for a deadly pandemic; and

               i. Buying up the inventory of PPE around the world to “corner the market” on
                  PPE, during the time Defendants knew of COVID-19’s particular dangers
                  and the propensity for a deadly pandemic.


         63.      As a direct and proximate result of Defendants’ breaches as described

  herein, Named Plaintiffs and class members have been injured and harmed, and have

  suffered damages and economic harms, and seek actual, special, and compensatory

  damages.




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     COUNT II – INTENTIONAL TORTS OF TOXIC BATTERY AND CIVIL ASSAULT
                           (Against Each Defendant)

         64.    Named Plaintiffs adopt, incorporate by reference, and restate the foregoing

  allegations in paragraphs 1 through 55, as if fully set forth herein, and further allege:

         65.    Defendants through their active concealment of the dangers of COVID-19,

  set in motion a virus that, in conjunction with their intentional acts of keeping Named

  Plaintiffs and class members from receiving proper or adequate PPE, allows/allowed that

  virus to touch Named Plaintiffs and class members in a harmful and offensive manner,

  infecting them.

         66.    Defendants acted with the intent to keep PPE out of the U.S. marketplace

  and away from Named Plaintiffs and class members, and/or did so with the substantial

  certainty that the harm would occur,

         67.    Alternatively, Defendants’ conduct, as described herein, put Named

  Plaintiffs and class members who did not/do not become infected with the virus, in fear of

  the imminent toxic battery described herein.

         68.    Defendants’ intent for either tort is transferable to the other tort.

         69.    As a result of Defendants’ commission of both the toxic battery and civil

  assault, Named Plaintiffs and class members have been injured and harmed, and seek

  nominal, actual and compensatory damages.

           COUNT III – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                             (Against Each Defendant)

         70.    Named Plaintiffs adopt, incorporate by reference, and restate the foregoing

  allegations in paragraphs 1 through 55, as if fully set forth herein, and further allege:




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         71.    Due to the negligence described herein, Named Plaintiffs and class

  members have suffered discernable physical manifestations and injuries of trauma from

  the negligent conduct, including, but not limited, to physical pains, headaches, anxiety,

  and insomnia.

         72.    These physical injuries and manifestations have been directly caused by

  the psychological trauma suffered due to Defendant’s egregious conduct and its effect on

  themselves and their loved ones.

         73.    Named Plaintiffs and class members have been in close proximity to the

  negligent conduct causing their injuries.

         74.    As a direct and proximate result of Defendants’ conduct as described

  herein, Named Plaintiffs and class members have been injured and harmed, and have

  suffered damages and economic harms, and seek actual, special, and compensatory

  damages.


          COUNT IV – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                            (Against Each Defendant)

         75.    Named Plaintiffs adopt, incorporate by reference, and restate the foregoing

  allegations in paragraphs 1 through 55, as if fully set forth herein, and further allege:

         76.    As an alternative to the negligence described herein, Defendants acted

  intentionally and/or recklessly in the manner described herein, and knew or should have

  known that emotional distress would likely result from their conduct.

         77.    Defendants’ conduct, as described herein, was outrageous, going beyond

  all bounds of decency, and is utterly intolerable in a civilized world.




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         78.    Defendants’ conduct has caused severe emotional distress to the Named

  Plaintiffs and class members.

         79.    As a direct and proximate result of Defendants’ intentional and reckless

  conduct, as described herein, Named Plaintiffs and class members have been injured

  and harmed, and have suffered damages and economic harms, and seek actual, special,

  and compensatory damages.

                                  DEMAND FOR JURY TRIAL

         Named Plaintiffs, on their own behalf and on behalf of the putative class members,

  demand a trial by jury on all issues so triable.

                                    PRAYER FOR RELIEF

         WHEREFORE, MORIAH AHARON, JORDAN G. KUPPINGER, M.D., DAMON J.

  DETESO, M.D., ROSANNA CARUSO, and CHRISTOPHER PAYTON, individually and

  as Representatives, demand judgment against Defendants, and pray for relief as follows:

         a.     Certification of the Class and Sub-Class under Federal Rule of Civil

                Procedure 23 and appointment of Plaintiffs as representatives of the

                respective Class and Sub-Class and their undersigned counsel as Class

                counsel;

         b.     An order requiring that Defendants pay compensatory and other damages

                to Plaintiffs and the class members, for their economic and non-economic

                damages identified herein, to the full extent permitted by the law;

         c.     An order awarding all damages allowed by any governing statutes;

         d.     Statutory pre-judgment and post-judgment interest on any amounts

                awarded;



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         e.     Costs and expenses in this litigation, including, but not limited to, expert

                fees, filing fees, and reasonable attorneys’ fees; and

         f.     Such other relief as the Court may deem just and proper.



  Dated this 7th day of April, 2020.
                                       THE LAW OFFICES OF
                                       BERMAN & BERMAN, P.A.
                                       P.O. Box 272789
                                       Boca Raton, FL 33427
                                       Telephone: (561) 826-5200
                                       Fax: (561) 826-5201

                                       By: /s Matthew T. Moore
                                       Matthew T. Moore, Esq.
                                       Fla. Bar No. 70034
                                       Primary: service@thebermanlawgroup.com
                                       Secondary: mmoore@thebermanlawgroup.com

                                       Vincent J. Duffy, Esq.
                                       Fla. Bar No. 82151
                                       Primary: service@thebermanlawgroup.com
                                       Secondary: vduffy@thebermanlawgroup.com




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